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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

HALLMARK LICENSING, LLC,
                                                          Case No. 24-cv-11002
                           Plaintiff,

          v.

THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

                           Defendants.


                                            COMPLAINT

          Plaintiff Hallmark Licensing, LLC (“Plaintiff” or “Hallmark”) hereby brings the present

action against the Partnerships and Unincorporated Associations identified on Schedule A attached

hereto (collectively, “Defendants”) and alleges as follows:

                                 I.     JURISDICTION AND VENUE

          1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., the Copyright Act 17

U.S.C. § 501, et seq., 28 U.S.C. § 1338(a)–(b), and 28 U.S.C. § 1331.

          2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive e-commerce stores1 operating under the seller aliases identified in

Schedule A attached hereto (the “Seller Aliases”). Specifically, Defendants have targeted sales to



1
    The e-commerce store URLs are listed on Schedule A hereto under the Online Marketplaces.
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Illinois residents by setting up and operating e-commerce stores that target United States

consumers using one or more Seller Aliases, offer shipping to the United States, including Illinois,

accept payment in U.S. dollars and/or funds from U.S. bank accounts, and, on information and

belief, have sold products using infringing and counterfeit versions of Hallmark’s federally

registered trademarks, copyrighted works, or both to residents of Illinois. Each of the Defendants

is committing tortious acts in Illinois, is engaging in interstate commerce, and has wrongfully

caused Hallmark substantial injury in the State of Illinois.

                                     II.   INTRODUCTION

       3.      This action has been filed by Hallmark to combat e-commerce store operators who

trade upon Hallmark’s reputation and goodwill by offering for sale and/or selling unauthorized

and unlicensed products, including greeting cards, entertainment products, and clothing, using

infringing and counterfeit versions of Hallmark’s federally registered trademarks and/or

unauthorized copies of Hallmark’s federally registered copyrighted works (collectively, the

“Unauthorized Products”). Defendants create e-commerce stores operating under one or more

Seller Aliases advertising, offering for sale, and selling Unauthorized Products to unknowing

consumers.    E-commerce stores operating under the Seller Aliases share unique identifiers

establishing a logical relationship between them and that Defendants’ counterfeiting operation

arises out of the same transaction, occurrence, or series of transactions or occurrences. Defendants

attempt to avoid and mitigate liability by operating under one or more Seller Aliases to conceal

both their identities and the full scope and interworking of their counterfeiting operation. Hallmark

is forced to file this action to combat Defendants’ counterfeiting of the registered trademarks and

infringement of its registered copyrighted works, as well as to protect unknowing consumers from

purchasing potentially dangerous Unauthorized Products over the internet. Hallmark has been and



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continues to be irreparably damaged through consumer confusion, dilution, and tarnishment of its

valuable trademarks as a result of Defendants’ actions and seeks injunctive and monetary relief.

                                     III.   THE PARTIES

Plaintiff

       4.      Plaintiff Hallmark Licensing, LLC is a Kansas limited liability company with its

principal place of business located in Kansas City, Missouri.

       5.      Since at least as early as 1949, Hallmark-related entities have used the

HALLMARK mark and crown design shown below on personal expression products. Today,

Hallmark uses the mark and design in connection with a variety of products and services, including

greeting cards, entertainment products, clothing, gifts, and related retail store services

(collectively, the “Hallmark Products”):




       6.      The Hallmark brand has continued to evolve across its portfolio of businesses.

Quality family entertainment started with the Hallmark Hall of Fame and lives on with the

Hallmark Channel and Hallmark Movies & Mysteries cable television networks that reach millions

of households with family-oriented programming.

       7.      Hallmark’s greeting cards continue to transform the industry with lines like

Hallmark Signature, Good Mail, and Just Because. Hallmark gift products can also be found at

tens of thousands of retail outlets worldwide and online at hallmark.com. Hallmark publishes in

30 languages, and Hallmark Products are available in more than 100 countries around the globe.

       8.      Since 2017, the Hallmark Products have also included the “My Friend Jesus Stuffed

Doll” (shown below). The “My Friend Jesus Stuffed Doll” features Hallmark’s copyrighted work.

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       9.      In 1984, long before Defendants’ acts described herein, Hallmark introduced the

character of Rainbow Brite. Rainbow Brite began as a greeting card character and made her

animated debut in the syndicated prime-time television special, “Peril in the Pits,” which first aired

on June 27, 1984. Since then, Rainbow Brite has been featured in several television specials,

comics, a weekly television series in 1986, and a feature-length film. Rainbow Brite is also

featured in a variety of products including online games, dolls, toys, books, and other related

products (collectively, the “Rainbow Brite Products”). The Rainbow Brite Products feature

Hallmark’s registered RAINBOW BRITE trademarks and copyrighted works (the “Rainbow Brite

Copyrighted Works”).

       10.     Some of the Rainbow Brite characters featured and made famous by Hallmark

include:




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      Rainbow Brite               Starlight                   Twink




        Red Butler               Lala Orange              Canary Yellow




      Patty O’Green              Buddy Blue                   Indigo


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                  Violet                      Murky Dismal                    Lurky

       11.     Collectively, the Hallmark Products and Rainbow Brite Products are referred to

together herein as the “Hallmark Products.”

       12.     Hallmark is an industry leader for personal expression products and family

entertainment and has developed a strong reputation as a supplier of high-quality products.

Hallmark Products have become enormously popular, driven by Hallmark’s arduous quality

standards and innovative designs. Among the purchasing public, genuine Hallmark Products are

instantly recognizable as such. The Hallmark brand has come to symbolize high quality, and

Hallmark Products are renowned for their quality and reliability.

       13.     Hallmark incorporates a variety of distinctive marks in its various Hallmark

Products. Hallmark has registered its trademarks with the United States Patent and Trademark

Office. Hallmark Products typically include at least one of Hallmark’s registered trademarks.

Hallmark uses its trademarks in connection with the marketing of its Hallmark Products, including

the following marks which are collectively referred to as the “HALLMARK Trademarks.”




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        Registration No.                          Trademark

            380,596
            916,900
           6,013,810
           4,814,915                             HALLMARK
           4,664,608
           5,033,265
           5,794,656
           7,086,740                   HALLMARK BETTER TOGETHER
           7,130,743                         BETTER TOGETHER
            525,798
           5,794,657
           5,858,356
           5,587,711
           5,499,357
           3,634,799
           2,457,248
           2,469,522
           2,469,521
            864,077
            657,441
            654,790




            821,931




            842,461



           2,302,403
           5,115,753                           RAINBOW BRITE
           3,808,509

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       14.      The above U.S. registrations for the HALLMARK Trademarks are valid,

subsisting, in full force and effect, and many are incontestable pursuant to 15 U.S.C. § 1065. The

registrations for the HALLMARK Trademarks constitute prima facie evidence of their validity

and of Hallmark’s exclusive right to use the HALLMARK Trademarks pursuant to 15 U.S.C. §

1057(b).     The HALLMARK Trademarks have been used exclusively and continuously by

Hallmark for many years and have never been abandoned. True and correct copies of the United

States Registration Certificates for the above-listed HALLMARK Trademarks are attached hereto

as Exhibit 1.

       15.      The HALLMARK Trademarks are exclusive to Hallmark and are displayed

extensively on or in close connection with Hallmark Products and in Hallmark’s marketing and

promotional materials. Hallmark Products have become quite popular and have been extensively

promoted and advertised at great expense. Hallmark Products have also been the subject of

extensive unsolicited publicity resulting from their high-quality, innovative designs and renown as

the industry leader in personal expression products and family entertainment. Because of these

and other factors, the Hallmark name and HALLMARK Trademarks have become famous

throughout the United States.

       16.      The HALLMARK Trademarks are distinctive when applied to the Hallmark

Products and packaging, signifying to the purchaser that the products come from Hallmark and are

manufactured to Hallmark’s quality standards. Whether Hallmark manufactures the products itself

or contracts with others to do so, Hallmark has ensured that products bearing or sold within

packaging bearing the HALLMARK Trademarks are manufactured to the highest quality

standards. The HALLMARK Trademarks have achieved tremendous fame and recognition, which




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has only added to the distinctiveness of the marks. As such, the goodwill associated with the

HALLMARK Trademarks is of incalculable and inestimable value to Hallmark.

       17.     Hallmark has expended substantial time, money, and other resources in developing,

advertising and otherwise promoting and protecting the HALLMARK Trademarks. As a result,

products bearing the HALLMARK Trademarks are widely recognized and exclusively associated

by consumers, the public, and the trade as being high-quality products sourced from Hallmark.

The widespread fame, outstanding reputation, and significant goodwill associated with the

Hallmark brand have made the HALLMARK Trademarks invaluable assets of Hallmark.

       18.     Hallmark is the owner of the Rainbow Brite Copyrighted Works which are

registered with the United States Copyright Office. The registrations include, but are not limited

to, “Rainbow Brite Portfolio” (U.S. Copyright Registration No. VA0000155320), issued by the

Register of Copyrights on March 26, 1984, and assigned from Hallmark Cards, Inc. to Plaintiff.

Hallmark is also the owner of the copyrighted work “Plush Shepherd Toy 1.0” (U.S. Copyright

Registration No. VA 0002361744), issued by the Register of Copyrights on September 8, 2023,

and assigned from Hallmark Cards, Inc. to Plaintiff (together with the Rainbow Brite Copyrighted

Works, the “Hallmark Copyrighted Works”). A true and correct copy of the copyright registration

certificates and deposit materials for the Hallmark Copyrighted Works are attached hereto as

Exhibit 2.

       19.     Among the exclusive rights granted to Hallmark under the U.S. Copyright Act are

the exclusive rights to reproduce, prepare derivative works of, distribute copies of, and display the

Hallmark Copyrighted Works to the public.




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The Defendants
          20.   Defendants are individuals and business entities of unknown makeup who own

and/or operate one or more of the e-commerce stores under at least the Seller Aliases identified on

Schedule A and/or other seller aliases not yet known to Hallmark. On information and belief,

Defendants reside and/or operate in the People’s Republic of China or other foreign jurisdictions

with lax trademark enforcement systems, or redistribute products from the same or similar sources

in those locations. Defendants have the capacity to be sued pursuant to Federal Rule of Civil

Procedure 17(b).

          21.   On information and belief, Defendants either individually or jointly own and/or

operate one or more e-commerce stores under the Seller Aliases listed in Schedule A attached

hereto.    Tactics used by Defendants to conceal their identities and the full scope of their

counterfeiting operation make it virtually impossible for Hallmark to learn Defendants’ true

identities and the exact interworking of their counterfeit network. If Defendants provide additional

credible information regarding their identities, Hallmark will take appropriate steps to amend the

Complaint.

                         IV. DEFENDANTS’ UNLAWFUL CONDUCT

          22.   The success of the Hallmark brand has resulted in significant counterfeiting of the

HALLMARK Trademarks and copying of the Hallmark Copyrighted Works. Consequently,

Hallmark has a worldwide brand protection program and regularly investigates suspicious e-

commerce stores identified in proactive Internet sweeps and reported by consumers. In recent

years, Hallmark has identified many fully interactive, e-commerce stores offering Unauthorized

Products on online marketplace platforms such as Amazon, eBay, AliExpress, Alibaba, Wish.com,

Walmart, Etsy, DHgate, TikTok, and Temu including the e-commerce stores operating under the

Seller Aliases. The Seller Aliases target consumers in this Judicial District and throughout the

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United States. According to a U.S. Customs and Border Protection (“CBP”), report, in 2021, CBP

made over 27,000 seizures of goods with intellectual property rights (“IPR”) violations totaling

over $3.3 billion, an increase of $2.0 billion from 2020. Intellectual Property Rights Seizure

Statistics, Fiscal Year 2021, U.S. Customs and Border Protection Exhibit 3. Of the 27,000 in total

IPR seizures, over 24,000 came through international mail and express courier services (as

opposed to containers), most of which originated from China and Hong Kong. Id.

       23.     Third party service providers like those used by Defendants do not adequately

subject new sellers to verification and confirmation of their identities, allowing counterfeiters to

“routinely use false or inaccurate names and addresses when registering with these e-commerce

platforms.” Exhibit 4, Daniel C.K. Chow, Alibaba, Amazon, and Counterfeiting in the Age of the

Internet, 40 NW. J. INT’L L. & BUS. 157, 186 (2020); see also report on “Combating Trafficking in

Counterfeit and Pirated Goods” prepared by the U.S. Department of Homeland Security’s Office

of Strategy, Policy, and Plans (Jan. 24, 2020), attached as Exhibit 5 (finding that on “at least some

e-commerce platforms, little identifying information is necessary for a counterfeiter to begin

selling” and recommending that “[s]ignificantly enhanced vetting of third-party sellers” is

necessary). Counterfeiters hedge against the risk of being caught and having their websites taken

down from an e-commerce platform by preemptively establishing multiple virtual store-fronts.

Exhibit 5 at p. 22. Since platforms generally do not require a seller on a third-party marketplace

to identify the underlying business entity, counterfeiters can have many different profiles that can

appear unrelated even though they are commonly owned and operated. Exhibit 5 at p. 39. Further,

“E-commerce platforms create bureaucratic or technical hurdles in helping brand owners to locate

or identify sources of counterfeits and counterfeiters.” Exhibit 4 at 186–87.




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        24.    Defendants have targeted sales to Illinois residents by setting up and operating e-

commerce stores that target United States consumers using one or more Seller Aliases, offer

shipping to the United States, including Illinois, accept payment in U.S. dollars and/or funds from

U.S. bank accounts, and, on information and belief, have sold Unauthorized Products to residents

of Illinois.

        25.    Defendants concurrently employ and benefit from substantially similar advertising

and marketing strategies. For example, Defendants facilitate sales by designing the e-commerce

stores operating under the Seller Aliases so that they appear to unknowing consumers to be

authorized online retailers, outlet stores, or wholesalers. E-commerce stores operating under the

Seller Aliases appear sophisticated and accept payment in U.S. dollars and/or funds from U.S.

bank accounts via credit cards, Alipay, Amazon Pay, and/or PayPal. E-commerce stores operating

under the Seller Aliases often include content and images that make it very difficult for consumers

to distinguish such stores from an authorized retailer. Hallmark has not licensed or authorized

Defendants to use any of its HALLMARK Trademarks or copy or distribute the Hallmark

Copyrighted Works, and none of the Defendants are authorized retailers of genuine Hallmark

Products.

        26.    Many Defendants also deceive unknowing consumers by using the HALLMARK

Trademarks without authorization within the content, text, and/or meta tags of their e-commerce

stores to attract various search engines crawling the internet looking for websites relevant to

consumer searches for Hallmark Products. Other e-commerce stores operating under Seller

Aliases omit using the HALLMARK Trademarks in the item title to evade enforcement efforts

while using strategic item titles and descriptions that will trigger their listings when consumers are

searching for Hallmark Products.



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       27.     E-commerce store operators like Defendants commonly engage in fraudulent

conduct when registering the Seller Aliases by providing false, misleading and/or incomplete

information to Internet based e-commerce platforms to prevent discovery of their true identities

and the scope of their e-commerce operation.

       28.     E-commerce store operators like Defendants regularly register or acquire new seller

aliases for the purpose of offering for sale and selling Unauthorized Products. Such seller alias

registration patterns are one of many common tactics used by E-commerce store operators like

Defendants to conceal their identities, the full scope and interworking of their counterfeiting

operation, and to avoid being shut down.

       29.     Even though Defendants operate under multiple fictitious aliases, the e-commerce

stores operating under the Seller Aliases often share unique identifiers, such as templates with

common design elements that intentionally omit any contact information or other information for

identifying Defendants or other Seller Aliases they operate or use. E-commerce stores operating

under the Seller Aliases include other notable common features, such as use of the same

registration patterns, accepted payment methods, check-out methods, keywords, advertising

tactics, similarities in price and quantities, the same incorrect grammar and misspellings, and/or

the use of the same text and images. Additionally, Unauthorized Products for sale by the Seller

Aliases bear similar irregularities and indicia of being counterfeit to one another, suggesting that

the Unauthorized Products were manufactured by and come from a common source and that

Defendants are interrelated.

       30.     E-commerce store operators like Defendants are in constant communication with

each other and regularly participate in QQ.com chat rooms and through websites such as




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sellerdefense.cn and kuajingvs.com regarding tactics for operating multiple accounts, evading

detection, pending litigation, and potential new lawsuits.

       31.       Counterfeiters such as Defendants typically operate under multiple seller aliases

and payment accounts so that they can continue operation in spite of Hallmark’s enforcement. E-

commerce store operators like Defendants maintain off-shore bank accounts and regularly move

funds from their financial accounts to off-shore accounts outside the jurisdiction of this Court to

avoid payment of any monetary judgment awarded to Hallmark. Indeed, analysis of financial

account transaction logs from previous similar cases indicates that off-shore counterfeiters

regularly move funds from their financial accounts to off-shore accounts outside the jurisdiction

of this Court.

       32.       Defendants are working to knowingly and willfully import, distribute, offer for sale,

and sell Unauthorized Products in the same transaction, occurrence, or series of transactions or

occurrences. Defendants, without any authorization or license from Hallmark, have knowingly

and willfully used and continue to use the HALLMARK Trademarks and/or Hallmark Copyrighted

Works in connection with the advertisement, distribution, offering for sale, and sale of

Unauthorized Products into the United States and Illinois over the internet.

       33.       Defendants’ unauthorized use of the HALLMARK Trademarks and/or Hallmark

Copyrighted Works in connection with the advertising, distribution, offering for sale, and sale of

Unauthorized Products, including the sale of Unauthorized Products into the United States,

including Illinois, is likely to cause and has caused confusion, mistake, and deception by and

among consumers and is irreparably harming Hallmark.




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                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       34.     Hallmark hereby re-alleges and incorporates by reference the allegations set forth

in the preceding paragraphs.

       35.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the federally registered HALLMARK

Trademarks in connection with the sale, offering for sale, distribution, and/or advertising of

infringing goods. The HALLMARK Trademarks are highly distinctive marks. Consumers have

come to expect the highest quality from Hallmark Products offered, sold or marketed under the

HALLMARK Trademarks.

       36.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and are

still selling, offering to sell, marketing, distributing, and advertising products using counterfeit

reproductions of the HALLMARK Trademarks without Hallmark’s permission.

       37.     Hallmark is the exclusive owner of the HALLMARK Trademarks. The United

States Registrations for the HALLMARK Trademarks (Exhibit 1) are in full force and effect. On

information and belief, Defendants have knowledge of Hallmark’s rights in the HALLMARK

Trademarks, and are willfully infringing and intentionally using counterfeits of the HALLMARK

Trademarks.    Defendants’ willful, intentional, and unauthorized use of the HALLMARK

Trademarks is likely to cause and is causing confusion, mistake, and deception as to the origin and

quality of the Unauthorized Products among the general public.

       38.     Defendants’ activities constitute willful trademark infringement and counterfeiting

under Section 32 of the Lanham Act, 15 U.S.C. § 1114.




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       39.     Hallmark has no adequate remedy at law, and if Defendants’ actions are not

enjoined, Hallmark will continue to suffer irreparable harm to its reputation and the goodwill of

its well-known HALLMARK Trademarks.

       40.     The injuries and damages sustained by Hallmark have been directly and

proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,

offering to sell, and sale of Unauthorized Products.

                                  COUNT II
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       41.     Hallmark hereby re-alleges and incorporates by reference the allegations set forth

in the preceding paragraphs.

       42.     Defendants’ promotion, marketing, offering for sale, and sale of Unauthorized

Products has created and is creating a likelihood of confusion, mistake, and deception among the

general public as to the affiliation, connection, or association with Hallmark or the origin,

sponsorship, or approval of Defendants’ Unauthorized Products by Hallmark.

       43.     By using the HALLMARK Trademarks in connection with the Unauthorized

Products, Defendants create a false designation of origin and a misleading representation of fact

as to the origin and sponsorship of the Unauthorized Products.

       44.     Defendants’ false designation of origin and misrepresentation of fact as to the origin

and/or sponsorship of the Unauthorized Products to the general public involves the use of

counterfeit marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

       45.     Hallmark has no adequate remedy at law and, if Defendants’ actions are not

enjoined, Hallmark will continue to suffer irreparable harm to its reputation and the goodwill of

the Hallmark brand.




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                                COUNT III
            COPYRIGHT INFRINGEMENT OF UNITED STATES COPYRIGHT
                    REGISTRATIONS (17 U.S.C. §§ 106 AND 501)

        46.      Hallmark hereby re-alleges and incorporates by reference the allegations set forth

in the preceding paragraphs.

        47.      The Hallmark Copyrighted Works constitute original works and copyrightable

subject matter pursuant to the Copyright Act, 17 U.S.C. §§ 101, et seq.

        48.      The Hallmark Copyrighted Works were registered in accordance with the

requirements of 17 U.S.C. § 411(a). The Hallmark Copyrighted Works are protected by U.S.

Copyright Registrations VA0000155320 and VA0002361744 duly issued to Hallmark Cards, Inc.,

who assigned full ownership and all rights in the Hallmark Copyrighted Works to Plaintiff. At all

relevant times, Hallmark has been and still is the owner of all rights, title, and interest in the

Hallmark Copyrighted Works, which have never been assigned, licensed, or otherwise transferred

to Defendants.

        49.      The Hallmark Copyrighted Works are published on the internet and available to

Defendants online. As such, Defendants had access to the Hallmark Copyrighted Works via the

internet.

        50.      Without authorization from Hallmark, or any right under the law, Defendants have

deliberately copied, displayed, distributed, reproduced and/or made derivate works incorporating

the Hallmark Copyrighted Works on e-commerce stores operating under the Seller Aliases and the

corresponding Unauthorized Products. Defendants’ derivative works are virtually identical to

and/or are substantially similar to the look and feel of the Hallmark Copyrighted Works. Such

conduct infringes and continues to infringe the Hallmark Copyrighted Works in violation of 17

U.S.C. § 501(a) and 17 U.S.C. §§ 106(1)–(3), (5).



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       51.      Defendants reap the benefits of the unauthorized copying and distribution of the

Hallmark Copyrighted Works in the form of revenue and other profits that are driven by the sale

of Unauthorized Products.

       52.      Defendants have unlawfully appropriated Hallmark’s protectable expression by

taking material of substance and value and creating Unauthorized Products that capture the total

concept and feel of the Hallmark Copyrighted Works.

       53.      On information and belief, Defendants’ infringement has been willful, intentional,

and purposeful, and in disregard of and with indifference to Hallmark’s rights.

       54.      Defendants, by their actions, have damaged Hallmark in an amount to be

determined at trial.

       55.      Defendants’ conduct is causing, and unless enjoined and restrained by this Court

will continue to cause, Hallmark great and irreparable injury that cannot fully be compensated or

measured in money. Hallmark has no adequate remedy at law. Pursuant to 17 U.S.C. § 502,

Hallmark is entitled to a preliminary and permanent injunction prohibiting further infringement of

the Hallmark Copyrighted Works.

                                     PRAYER FOR RELIEF

WHEREFORE, Hallmark prays for judgment against Defendants as follows:

1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

   and all persons acting for, with, by, through, under, or in active concert with them be

   temporarily, preliminarily, and permanently enjoined and restrained from:

       a. using the HALLMARK Trademarks or any reproductions, counterfeit copies, or

             colorable imitations thereof in any manner in connection with the distribution,

             marketing, advertising, offering for sale, or sale of any product that is not a genuine



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           Hallmark Product or is not authorized by Hallmark to be sold in connection with the

           HALLMARK Trademarks;

       b. reproducing, distributing copies of, making derivative works of, or publicly displaying

           the Hallmark Copyrighted Works in any manner without the express authorization of

           Hallmark;

       c. passing off, inducing, or enabling others to sell or pass off any product as a genuine

           Hallmark Product or any other product produced by Hallmark that is not Hallmark’s or

           not produced under the authorization, control, or supervision of Hallmark and approved

           by Hallmark for sale under the HALLMARK Trademarks and/or the Hallmark

           Copyrighted Works;

       d. committing any acts calculated to cause consumers to believe that Defendants’

           Unauthorized Products are those sold under the authorization, control, or supervision

           of Hallmark, or are sponsored by, approved by, or otherwise connected with Hallmark;

       e. further infringing the HALLMARK Trademarks and/or the Hallmark Copyrighted

           Works and damaging Hallmark’s goodwill; and

       f. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

           storing, distributing, returning, or otherwise disposing of, in any manner, products or

           inventory not manufactured by or for Hallmark, nor authorized by Hallmark to be sold

           or offered for sale, and which bear any of Hallmark’s trademarks, including the

           HALLMARK Trademarks, or any reproductions, counterfeit copies, or colorable

           imitations thereof and/or which bear the Hallmark Copyrighted Works;

2) Entry of an Order that, upon Hallmark’s request, those with notice of the injunction, including,

   without limitation, any online marketplace platforms such as eBay, AliExpress, Alibaba,



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   Amazon, Wish.com, Walmart, Etsy, Temu, TikTok, and DHgate (collectively, the “Third Party

   Providers”) shall disable and cease displaying any advertisements used by or associated with

   Defendants in connection with the sale of counterfeit and infringing goods using the

   HALLMARK Trademarks and/or which bear the Hallmark Copyrighted Works;

3) That Defendants account for and pay to Hallmark all profits realized by Defendants by reason

   of Defendants’ unlawful acts herein alleged, and that the amount of damages for infringement

   of the HALLMARK Trademarks be increased by a sum not exceeding three times the amount

   thereof as provided by 15 U.S.C. § 1117;

4) In the alternative, that Hallmark be awarded statutory damages for willful trademark

   counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of the

   HALLMARK Trademarks;

5) As a direct and proximate result of Defendants’ infringement of the Hallmark Copyrighted

   Works, Hallmark is entitled to damages as well as Defendants’ profits, pursuant to 17 U.S.C.

   § 504(b);

6) Alternatively, and at Hallmark’s election prior to any final judgment being entered, Hallmark

   is entitled to the maximum amount of statutory damages provided by law, $150,000 per work

   infringed pursuant to 17 U.S.C. § 504(c), or for any other such amount as may be proper

   pursuant to 17 U.S.C. § 504(c);

7) That Hallmark be awarded its reasonable attorneys’ fees and costs for bringing this action

   pursuant to 17 U.S.C. § 505 and 17 U.S.C. § 1117(a); and

8) Award any and all other relief that this Court deems just and proper.




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Dated this 25th day of October 2024.   Respectfully submitted,

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